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March 3, 2022                                                                                                    D: +1 310 246 6850
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VIA ECF

The Honorable Brian M. Cogan
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Re:       United States v. Thomas J. Barrack, Jr.
          Criminal Docket No. 1:21-CR-371-2 (BMC)

Dear Judge Cogan:

On behalf of defendant Thomas J. Barrack, Jr., we respectfully write to request access to data
related to the Master Jury Wheel from which the grand jury was selected in the above-captioned
matter. The U.S. Attorney’s Office for the Eastern District of New York previously consented to
an order permitting Mr. Barrack’s co-defendant, Mr. Grimes, to inspect “a limited set of data –
namely, the county of residence, zip code, and, to the extent available, the race and age of the
individuals listed in the Master Jury Wheel from which the jury was selected” – and the
government has since indicated that it has no objection to Mr. Barrack accessing this data as
well. See Dkt. 79, Gov’t Opp. to Grimes Mot. for Grand Jury Records, at 10.1 Accordingly, we
respectfully request that the Court order the Clerk of Court to provide such records to Mr.
Barrack.

Respectfully submitted,


/s/ Daniel M. Petrocelli

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James A. Bowman
Nicole M. Argentieri
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  Previously, the Court directed “the Clerk of the Court, as the custodian of the grand jury records . . . to
provide the records to [Mr. Grimes’s] counsel in accordance with this order and to file a sealed copy on
the docket.” Feb. 1, 2022 Minute Order (granting Mr. Grimes’s request for “a limited set of data – namely,
the county of residence, zip code, and, to the extent available, the race and age of the individuals listed in
the Master Jury Wheel from which the grand jury was selected,” see Dkt. 65).


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